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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 CAPANA SWISS ADVISORS, AG, et al.,                      Case No. 2:25-mc-00005

            Plaintiffs,                                  Originating Court: D. Utah Originating
                                                         Case No.: 2:23-CV-00467
 v.

 RYMARK INC., et al.,

            Defendants.
                                             ORDER

        AND NOW, on this 24th day of February, 2025, upon consideration of Movant John

Simkiss’ Motion to Stay (ECF No. 2), it is ORDERED that the Motion to Stay is GRANTED.

The parties must file a joint status report either (i) on or before March 26, 2025, or (ii) within five

days of the entry of an order addressing the Motion to Extend Discovery filed by Defendants

Rymark, Inc., Nicholas Markosian, and Vicky Small in the underlying litigation, whichever

occurs first.




                                                               s/ANITA B. BRODY, J.
                                                                    ANITA B. BRODY, J.
